Case 2:04-cv-70592-SJM-PJK
              Case: 15-2382 ECF No. 470,
                            Document:    PageID.17587
                                      83-1              Filed 08/27/18
                                             Filed: 08/27/2018    Page: Page
                                                                        1    1 of 11(1 of 11)




                         UNITED STATES COURT OF APPEALS
                              FOR THE SIXTH CIRCUIT
                              100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt          POTTER STEWART U.S. COURTHOUSE            Tel. (513) 564-7000
        Clerk                    CINCINNATI, OHIO 45202-3988          www.ca6.uscourts.gov




                                             Filed: August 27, 2018




 Ms. Darcie R. Brault
 McKnight, Canzano, Smith, Radtke & Brault
 423 N. Main Street
 Suite 200, Royal Oak, MI 48067

 Mr. Bobby Roy Burchfield
 Mr. Joshua Nathaniel Mitchell
 King & Spalding
 1700 Pennsylvania Avenue, N.W., Suite 200
 Washington, DC 20006

 Mr. Douglas A Darch
 Baker & McKenzie
 300 E. Randolph Street, Suite 5000
 Chicago, IL 60601

 Mr. J. Richard Hammett
 Baker & McKenzie, 700 Louisiana
 Houston, TX 77002

 Mr. Glen David Nager
 Jones Day, 51 Louisiana Avenue, N.W.
 Washington, DC 20001

 Mr. Stephen M. Shapiro
 Mr. Joshua D. Yount
 Mayer Brown, 71 S. Wacker Drive
 Chicago, IL 60606

 Mr. Stanley Weiner
 Jones Day, 901 Lakeside Avenue, E.
 Cleveland, OH 44114-1190
Case 2:04-cv-70592-SJM-PJK
              Case: 15-2382 ECF No. 470,
                            Document:    PageID.17588
                                      83-1              Filed 08/27/18
                                             Filed: 08/27/2018    Page: Page
                                                                        2    2 of 11(2 of 11)




                   Re: Case No. 15-2382, Jack Reese, et al v. CNH Industrial N.V., et al
                       Originating Case No. : 2:04-cv-70592

 Dear Counsel,

    The Court issued the enclosed Order today in this case.

                                                 Sincerely yours,

                                                 s/Cathryn Lovely
                                                 Case Manager
                                                 Direct Dial No. 513-564-7039

 cc: Mr. David J. Weaver

 Enclosure
Case 2:04-cv-70592-SJM-PJK
              Case: 15-2382 ECF No. 470,
                            Document:    PageID.17589
                                      83-2              Filed 08/27/18
                                             Filed: 08/27/2018    Page: Page
                                                                        1    3 of 11(3 of 11)




                                             No. 15-2382

                           UNITED STATES COURTS OF APPEALS
                                FOR THE SIXTH CIRCUIT

  JACK REESE, JAMES CICHANOFSKY, ROGER                     )
  MILLER, and GEORGE NOWLIN, for themselves                )                     FILED
  and the class,                                           )               Aug 27, 2018
                                                           )           DEBORAH S. HUNT, Clerk
          Plaintiffs-Appellees,                            )
                                                           )
  v.                                                       )
                                                                   ORDER
                                                           )
  CNH INDUSTRIAL N.V. and CNH INDUSTRIAL                   )
  AMERICA, LLC,                                            )
                                                           )
          Defendants-Appellants.                           )
                                                           )



 BEFORE:        GIBBONS, SUTTON, and DONALD, Circuit Judges.

        PER CURIAM. This case is before us once again, this time on remand from the Supreme

 Court, which vacated our judgment in Reese v. CNH Industrial N.V., 854 F.3d 877 (6th Cir. 2017),

 and held that the plaintiffs’ retiree healthcare benefits expired in 2004 along with the 1998 CBA.

 CNH Indus. N.V. v. Reese, 138 S. Ct. 761, 766–67 (2018). The plaintiffs now ask us to remand

 their case back to the district court for consideration of whether two groups of retirees are, despite

 the Court’s recent decision, still entitled to lifetime healthcare benefits: (1) those who separated

 employment under the 1993 Plant Shutdown Agreement (the “1993 Agreement”), and (2) those

 who separated employment under the 2002 East Moline Plant Shutdown Agreement (the “2002

 Agreement”). The plaintiffs argue that these agreements contain language overriding the CBAs’

 general durational clauses because they terminated the CBAs at the closed locations and provided

 continuing benefits for employees who retired from those plants. CNH opposes the plaintiffs’

 motion to remand, arguing that the plaintiffs are barred from relying on the 2002 Agreement by
Case 2:04-cv-70592-SJM-PJK
              Case: 15-2382 ECF No. 470,
                            Document:    PageID.17590
                                      83-2              Filed 08/27/18
                                             Filed: 08/27/2018    Page: Page
                                                                        2    4 of 11(4 of 11)

 No. 15-2382, Jack Reese, et al. v. CNH America, LLC, et al.


 the law of the case doctrine and that they have waived any arguments based on the 1993

 Agreement. We agree with CNH and therefore deny the plaintiffs’ motion.

                                                           I.

         First, CNH correctly points out that we have already rejected the plaintiffs’ argument that

 the 2002 Agreement provides for vested retiree healthcare benefits. “Under the law-of-the-case

 doctrine, findings made at one point in the litigation become the law of the case for subsequent

 stages of that same litigation.” Rouse v. DaimlerChrysler Corp., 300 F.3d 711, 715 (6th Cir. 2002)

 (citing United States v. Moored, 38 F.3d 1419, 1421 (6th Cir. 1994)). The doctrine only applies

 to “those questions necessarily decided in the earlier appeal,” meaning “all issues that were fully

 briefed and squarely decided” in that earlier appeal. Burley v. Gagacki, 834 F.3d 606, 618 (6th

 Cir. 2016) (internal quotation marks omitted). Because whether the 2002 Agreement provides for

 vested retiree healthcare benefits was “fully briefed and squarely decided” in an earlier appeal, the

 plaintiffs cannot re-litigate the issue in the district court.

         In 2010—after the case had been remanded back to the district court for the first time, see

 Reese v. CNH America, LLC (“Reese I”), 574 F.3d 315 (6th Cir. 2009)—both parties filed for

 summary judgment based on the 2002 Agreement. The district court granted the plaintiffs’ motion,

 holding that “health care benefits and the scope of those benefits for Plaintiffs who retired under

 the East Moline Shutdown Agreement are vested and unalterable and irreducible.” On appeal,

 however, we disagreed because we found that the 2002 Agreement “governs only the ‘economic

 closedown benefits and the eligibility rules established and set forth in’ that agreement.” Reese v.

 CNH America LLC (“Reese II”), 694 F.3d 681, 685 (6th Cir. 2012). Thus, the law of the case

 doctrine bars the plaintiffs from re-litigating the 2002 Agreement. The parties fully briefed the




                                                     -2-
Case 2:04-cv-70592-SJM-PJK
              Case: 15-2382 ECF No. 470,
                            Document:    PageID.17591
                                      83-2              Filed 08/27/18
                                             Filed: 08/27/2018    Page: Page
                                                                        3    5 of 11(5 of 11)

 No. 15-2382, Jack Reese, et al. v. CNH America, LLC, et al.


 issue before this court, and our statement in Reese II that “[n]othing in the [2002] agreement speaks

 to healthcare,” 694 F.3d at 686, is a “finding” that is now the law of the case.

        None of the plaintiffs’ counterarguments have merit. First, while they are correct that the

 law of the case doctrine is discretionary, to differ from an earlier ruling we “must find some cogent

 reason to show the prior ruling is no longer applicable, such as if our prior opinion was a clearly

 erroneous decision which would work a manifest injustice.” In re Kenneth Allen Knight Trust,

 303 F.3d 671, 677–78 (6th Cir. 2002). Since the 2002 Agreement does not in fact discuss

 healthcare benefits, we do not think that our prior conclusion was clearly erroneous. We also reject

 the plaintiffs’ argument that because Reese II was premised on the now-overruled assumption that

 the 1998 CBAs vested retiree healthcare benefits, we are not bound by any of the conclusions we

 reached in Reese II. It is true that this court does not apply the law of the case “where a subsequent

 contrary view of the law is decided by the controlling authority.” Hanover Ins. Co. v. Am. Eng’g

 Co., 105 F.3d 306, 312 (6th Cir. 1997). But the 1998 CBA and the 2002 Agreement are two

 entirely separate documents, and the Supreme Court’s decision was not “contrary to” our

 determination in Reese II that the 2002 Agreement does not provide for vested healthcare benefits.

 If anything, the Court’s decision—which expresses extreme reluctance to find that a contract

 provides for lifetime vested healthcare benefits in the absence of affirmative language granting

 such benefits—actually supports our conclusion about the 2002 Agreement in Reese II. We

 therefore conclude that the law of the case doctrine prohibits the plaintiffs from arguing that the

 2002 Agreement vests retiree healthcare benefits.

                                                  II.

        CNH next argues that the plaintiffs have waived their arguments based on the 1993

 Agreement. Because the plaintiffs fully litigated the issue of whether the 2002 Agreement



                                                  -3-
Case 2:04-cv-70592-SJM-PJK
              Case: 15-2382 ECF No. 470,
                            Document:    PageID.17592
                                      83-2              Filed 08/27/18
                                             Filed: 08/27/2018    Page: Page
                                                                        4    6 of 11(6 of 11)

 No. 15-2382, Jack Reese, et al. v. CNH America, LLC, et al.


 provides for vested retiree healthcare benefits but failed to do so for the 1993 Agreement, we agree

 with CNH.

        While the plaintiffs’ operative First Amended Complaint mentions both the 1993 and the

 2002 Agreements and appears to include both in the scope of the plaintiffs’ breach of contract

 claim, the plaintiffs did not litigate the significance of the 1993 Agreement any further. For

 example, their very first motion for summary judgment only mentions the 1993 Agreement briefly

 and seems to view it as extrinsic evidence of the parties’ intent to vest retiree healthcare benefits,

 rather than a contract obligating CNH to do so. More importantly, the plaintiffs did argue, both

 before the district court and the Sixth Circuit, that the 2002 Agreement contractually bound CNH

 to provide retiree healthcare benefits for life—making their failure to do so for the 1993 Agreement

 particularly significant. “It is a ‘settled appellate rule that issues adverted to in a perfunctory

 manner, unaccompanied by some effort at developed argumentation, are deemed waived.’” Spirko

 v. Mitchell, 368 F.3d 603, 612 (6th Cir. 2004) (quoting United States v. Elder, 90 F.3d 1110, 1118

 (6th Cir. 1996)). For whatever reason, the plaintiffs decided not to pursue the argument that the

 1993 Agreement provides for vested retiree healthcare benefits. They did pursue that argument

 for the 2002 Agreement. We conclude that they have waived the arguments they now seek to raise

 regarding the 1993 Agreement.

                                                  III.

        For the foregoing reasons, we deny the plaintiffs’ motion to remand the case to the district

 court to address these new issues and instead remand the case to the district court to enter judgment

 for CNH.




                                                  -4-
Case 2:04-cv-70592-SJM-PJK
              Case: 15-2382 ECF No. 470,
                            Document:    PageID.17593
                                      83-2              Filed 08/27/18
                                             Filed: 08/27/2018    Page: Page
                                                                        5    7 of 11(7 of 11)

 No. 15-2382, Jack Reese, et al. v. CNH America, LLC, et al.


        BERNICE BOUIE DONALD, Circuit Judge, dissenting. The question presented to us

 by the motion to remand can be boiled down to this: after the Supreme Court’s reversal of this

 Court’s holding in Reese, et al. v. CNH Industries N.V., et al., 854 F.3d 877 (6th Cir. 2017) (“Reese

 III”), do there remain issues material to this dispute that were left unresolved by the Supreme

 Court, and whose further litigation is not otherwise precluded? The majority answers in the

 negative, persuaded by the view of Defendants-Appellants CNH Industrial, N.V., et al. (“CNH”),

 that Plaintiffs-Appellants Jack Reese, et al. (“Plaintiffs”), are foreclosed from further argument

 that their lifetime retiree healthcare benefits vested under either the 2002 East Moline Plant

 Shutdown Agreement (“Shutdown 2002”) or the 1993 Plant Shutdown Agreement (“Shutdown

 1993”) (collectively, the “Shutdown Agreements”).

                                                   I

        CNH contends that in Reese v. CNH Am. LLC, 694 F.3d 681 (6th Cir. 2012) (“Reese II”),

 this Court “squarely rejected” Plaintiffs’ argument and the district court’s ruling,” that Shutdown

 2002 provided for healthcare benefits, which “are vested[,] unalterable and irreducible.’” CNH

 underscores that Reese II held that “[n]othing in the [Shutdown 2002] agreement speaks to

 healthcare,” and the agreement “neither establishes nor sets forth healthcare benefits, which are

 instead found in the 1998 CBA.” CNH urges that this “definite disposition of [Shutdown 2002] in

 Reese II is the law of the case and binds this panel.”

        CNH relies on United States v. Moored, 38 F.3d 1419 (6th Cir. 1994), for the proposition

 that “findings made at one point in the litigation become the law of the case for subsequent stages

 of that same litigation.” CNH also invokes United States v. Smith for the principle that a “case

 overruled on one point remains good law on points not overruled.” Indeed, CNH accuses Plaintiffs

 of “egregiously mischaracteriz[ing]” Reese II in asserting that separate vesting of the benefits



                                                  -5-
Case 2:04-cv-70592-SJM-PJK
              Case: 15-2382 ECF No. 470,
                            Document:    PageID.17594
                                      83-2              Filed 08/27/18
                                             Filed: 08/27/2018    Page: Page
                                                                        6    8 of 11(8 of 11)

 No. 15-2382, Jack Reese, et al. v. CNH America, LLC, et al.


 under Shutdown 2002 “was not considered.” CNH terms this assertion “beyond the bounds of

 acceptable advocacy.” In response, Plaintiffs contend that the law of the case doctrine is inapposite

 because the doctrine does not reach “issues not ‘fully briefed [or] squarely decided in an earlier

 appeal.’”

        Moody underscored that the law of the case doctrine aims “to enforce a district court’s

 adherence to an appellate court’s judgment, and so is applied only loosely when we reconsider our

 own decisions.” Moody, 871 F.3d at 425 (quotation omitted); see also McKenzie v. BellSouth

 Telecomms., Inc., 219 F.3d 508, 513 n.3 (noting “law of the case” more a matter of a court’s

 “common sense” than an “inexorable command”). Still, it takes an “exceptional circumstance[]”

 to overcome the doctrine: “(1) where substantially different evidence is raised on subsequent trial;

 (2) where a subsequent contrary view of the law is decided by the controlling authority; or

 (3) where a decision is clearly erroneous and would work a manifest injustice.” Moody, 871 F.3d

 at 426 (quoting United States v. Rayborn, 495 F.3d 328, 337 (6th Cir. 2007)).

        I am not persuaded that Reese II actually did “squarely decide[]” the issue of vesting of

 lifetime healthcare under Shutdown 2002. It is true that the Court asserted that “nothing in

 [Shutdown 2002] speaks to healthcare. It neither establishes nor sets forth healthcare benefits . . . ”

 Reese II, 694 F.3d at 686. But these two sentences hardly qualify as an analysis of the issue, and

 it seems dubious to call them a holding. See Howe v. City of Akron, 801 F.3d 718, 739-40 (6th

 Cir. 2015) (quotation omitted) (“For a prior decision to control, the prior tribunal must have

 actually decided the issue.”). They give a legal conclusion, but without sharing the reasoning

 underlying or leading to the conclusion. The heart of Reese II’s holding was that Plaintiffs’

 lifetime retiree healthcare benefits are “found in the CBA, . . . are vested, and . . . remain subject

 to reasonable modification.” Reese II, 694 F.3d at 686. Reese II’s language regarding Shutdown



                                                  -6-
Case 2:04-cv-70592-SJM-PJK
              Case: 15-2382 ECF No. 470,
                            Document:    PageID.17595
                                      83-2              Filed 08/27/18
                                             Filed: 08/27/2018    Page: Page
                                                                        7    9 of 11(9 of 11)

 No. 15-2382, Jack Reese, et al. v. CNH America, LLC, et al.


 2002 arguably fits the definition of “[a] position that has been assumed without decision for

 purposes of resolving another issue,” and that therefore cannot constitute “the law of the case.”

 See Howe, 801 F.3d at 739-40 (quoting Wright et al., Fed. Pract. & Proced.: Jurisdiction & Related

 Matters § 4478 (4th ed. 2015)). Indeed, because Reese II found that the retirees’ lifetime

 healthcare benefits fully vested under the 1998 CBA, the Court’s brief observation about

 Shutdown 2002 plausibly constitutes dicta inasmuch as it was “not essential to the determination

 of the case at hand.” See Kelly Servs. v. Creative Harbor, LLC, 846 F.3d 857, 877 (6th Cir. 2017).

 While CNH has a point when it upbraids Plaintiffs for downplaying Reese II’s language as to

 Shutdown 2002, CNH and the majority here may be equally guilty of making too much of Reese

 II’s rather passing reference to that agreement.1

          Because I am not persuaded that Reese II “squarely decided” the vesting of Plaintiffs’

 healthcare benefits under Shutdown 2002, it seems to me a stretch to invoke the law of the case

 doctrine as precluding remand to consider the vesting of healthcare benefits under that agreement.

                                                           II

          CNH urges that Plaintiffs have waived “for all time” any argument based on Shutdown

 1993 because of their alleged failure to argue it “at any time” over this lengthy litigation, prior to

 the instant remand motion. CNH also asserts that Plaintiffs’ complaint failed to allege a breach of



          1
            Plaintiffs argue in the alternative that, even if the Shutdown 2002 issue was “squarely decided” by Reese II,
 the second of Rayborn’s “exceptional circumstances” colorably applies: “where a subsequent contrary view of the
 law is decided by the controlling authority.” See Rayborn, 495 F.3d at 337. Because the Supreme Court’s reversal of
 Reese III knocked the 1998 CBA out as a support for Plaintiffs’ position as to lifetime vesting, arguably Reese II can
 no longer serve as a source for the law of the case here. See EEOC v. K-Mart Corp., 796 F.2d 139, 146 (6th Cir. 1986)
 (holding that “a prior opinion of another panel of our [C]ourt . . . cannot control as opposed to an opposite view
 expressed in final language by the United States Supreme Court in a similar case.”). The difficulty with this line of
 reasoning is that in CNH the Supreme Court invalidated Reese II’s holding as to the 1998 CBA—but said nothing
 about the Shutdown Agreements. See 138 S. Ct. at 766-67. Thus, had Reese II in fact “squarely decided” the
 Shutdown 2002 issue, CNH could not be deemed to have rendered Reese II a legal nullity and thereby to have
 precluded application the law of the case doctrine here. See United States v. Smith, 881 F.3d 954, 959 (6th Cir. 2018)
 (a precedent overruled in one respect remains good law in other respects not overruled). However, I do not see the
 second Rayborn exception as necessary to resolving the law of the case argument.

                                                           -7-
Case 2:04-cv-70592-SJM-PJK
              Case: 15-2382 ECF No. 470,83-2
                             Document:   PageID.17596    Filed 08/27/18
                                              Filed: 08/27/2018    Page:Page
                                                                         8   10 of 11
                                                                                   (10 of 11)
  No. 15-2382, Jack Reese, et al. v. CNH America, LLC, et al.


  Shutdown 1993. As the majority correctly notes, Plaintiffs did include allegations regarding

  Shutdown 1993 within Count I of their first amended complaint, titled “Violation of Collective

  Bargaining Agreement.” Nevertheless, CNH contends that “Plaintiffs have never argued in any

  brief, before this Court or the district court, at any time during the last fourteen years that

  [Shutdown 1993] standing alone grants them lifetime benefits.” Plaintiffs counter that, prior to

  CNH, 138 S. Ct. 761, “[t]here was no need to press these arguments.”

           Again agreeing with CNH, the majority points out that Plaintiffs did argue for lifetime

  vesting based on Shutdown 2002, both before this Court and the district court.2 In contrast, the

  majority emphasizes, “for whatever reason” Plaintiffs did “not pursue the argument that the

  [Shutdown 1993] provides for vested retiree healthcare benefits.”

           Requiring a party to “appeal every issue decided adversely to it in order to preserve

  relitigation of that issue” would burden “a largely successful party [with] the need to take a

  protective appeal.” 18B Wright, Miller & Cooper, Fed. Pract. & Proced. § 4478.6 at 833 (2002).

  “[A] degree of leniency” is therefore justified “in applying the waiver rule to issues that could have

  been raised by appellees on previous appeals.” Id. at 832. Plaintiffs were “largely successful” as

  to their claim to vested healthcare benefits. I therefore do not believe that they should be enjoined

  from further litigation of their claim based on Shutdown 1993.

                                                           III

           I am keenly aware that this litigation is well into its second decade, and I take seriously the

  need for finality in the courts. See First Tennessee Bank N.A. v. Smith, 766 F.2d 255, 259 (6th Cir.




           Indeed, that observation is part of the reason why the majority concludes that Reese II precludes Plaintiffs’
           2

  Shutdown 2002-based argument—supplying part of the “fully briefed” portion of the “fully briefed and squarely
  decided” criterion for applying the law of the case doctrine. See Moody, 871 F.3d at 425.

                                                           -8-
Case 2:04-cv-70592-SJM-PJK
              Case: 15-2382 ECF No. 470,83-2
                             Document:   PageID.17597    Filed 08/27/18
                                              Filed: 08/27/2018    Page:Page
                                                                         9   11 of 11
                                                                                   (11 of 11)
  No. 15-2382, Jack Reese, et al. v. CNH America, LLC, et al.


  1985). However, the need for finality must be balanced against the demands of justice. See Cale

  v. Johnson, 861 F.2d 943, 948 (6th Cir. 1988).

         Because “the Supreme Court did not rule that the shutdown agreement’s retirees are not

  entitled to vested benefits” but rather that “the 1998 CBA did not vest benefits,”; because the

  Supreme Court remanded to this Court for further consistent proceedings and granted leave to file

  amici briefs, CNH, 136 S. Ct. at 766-67; and because it seems to me that the law of the case doctrine

  does not foreclose a fuller consideration of the issue of vesting under the Shutdown Agreements,

  I believe that remand is appropriate in this case. For the foregoing reasons, therefore, I respectfully

  dissent.

                                                 ENTERED BY ORDER OF THE COURT




                                                 ___________________________________
                                                 Deborah S. Hunt, Clerk




                                                   -9-
